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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


         IN RE: SUBPOENA OF JOHN KELLY,                        )
                                                               )
                                                               )      Case No.     Misc. No. 24-0084 (TNM)
         Former Secretary of Homeland Security                 )
                                                               )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Leticia and Yovany                                                                                           .


Date:          07/24/2024                                                               /s/ Debra O'Gorman
                                                                                         Attorney’s signature


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